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 7                          UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                                Case No. 2:07-CR-00145-KJD-PAL

12   v.                                               ORDER

13   ROBERT ALLEN YOUNG,

14          Defendant.

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16          Having reviewed the Motion and good cause appearing, the Court hereby GRANTS Angela

17   H. Dows’ Motion to Withdraw as Counsel of Record (#1430). Chris T. Rasmussen, Defendant’s

18   immediately preceding counsel will continue as Counsel of Record in this matter.

19          DATED this 12th day of August 2013.

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                                                 Kent J. Dawson
23                                               United States District Judge

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